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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


Jarrell Wilson

      v.                                      Case No. 19-cv-1064-PB

Peter Picone




                                  ORDER


     After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge

Andrea K. Johnstone dated October 21, 2020, and dismiss this

action in its entirety for failure to state a claim, pursuant to

28 U.S.C. § 1915A and LR 4.3(d)(1), and deny the motion to

dismiss (doc. no. 24) as moot. The clerk shall enter judgment

and close the case.


                                       /s/Paul Barbadoro___________
                                       Paul Barbadoro
                                       United States District Judge

Date: November 2, 2020


cc: Jarrell Wilson, pro se
    Counsel of Record
